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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

Janet Reddy,                               )
                                           )
       Plaintiff,                          )
                                           )
       v.                                  )      No.   10 C 5994
                                           )
Mercantile Adjustment Bureau, LLC, a       )
New York limited liability company,        )
                                           )
       Defendant.                          )      Jury Demanded

                                       COMPLAINT

       Plaintiff, Janet Reddy, brings this action under the Fair Debt Collection Practices

Act, 15 U.S.C. § 1692, et seq. ("FDCPA"), for a finding that Defendant’s debt collection

actions violated the FDCPA, and to recover damages for Defendant’s violations of the

FDCPA, and alleges:

                               JURISDICTION AND VENUE

       1.      This Court has jurisdiction pursuant to § 1692k(d) of the FDCPA, and 28

U.S.C. § 1331.

       2.      Venue is proper in this District because: a) part of the acts and

transactions occurred here; and, b) Defendant resides and transacts business here.

                                         PARTIES

       3.      Plaintiff, Janet Reddy ("Reddy"), is a citizen of the State of Colorado, from

whom Defendant attempted to collect a delinquent consumer debt, despite the fact that

she was represented by the legal aid attorneys at the Chicago Legal Clinic's Legal

Advocates for Seniors and People with Disabilities program ("LASPD"), located in

Chicago, Illinois.
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       4.     Defendant, Mercantile Adjustment Bureau, LLC (“Mercantile”) is a New

York limited liability company, that acts as a debt collector, as defined by § 1692a of the

FDCPA, because it regularly uses the mails and/or the telephone to collect, or attempt

to collect, delinquent consumer debts. Defendant Mercantile operates a nationwide

debt collection business, and attempts to collect debts from consumers in virtually every

state, including consumers in the State of Illinois. In fact, Defendant Mercantile was

acting as a debt collector as to the delinquent consumer debt it attempted to collect from

Ms. Reddy.

       5.     Defendant Mercantile is licensed to conduct business in Illinois and

maintains a registered agent here, see, record from the Illinois Secretary of State,

attached as Exhibit A. In fact, Mercantile conducts business in Illinois.

       6.     Moreover, Defendant Mercantile is licensed as a collection agency in

Illinois, see, record from the Illinois Division of Professional Regulation, attached as

Exhibit B. In fact, Mercantile acts as a debt collector in Illinois.

                                 FACTUAL ALLEGATIONS

       7.     Ms. Reddy is a senior citizen, with limited assets and income, who fell

behind on paying her bills. When Defendant Mercantile began trying to collect one of

her delinquent debts from her, Ms. Reddy sought the assistance of the legal aid

attorneys at the Chicago Legal Clinic’s LASPD program, regarding her financial

difficulties and Defendant Mercantile’s collection actions.

       8.     On September 8, 2010, one of Ms. Reddy's attorneys at LASPD informed

Mercantile, in writing, that Ms. Reddy was represented by counsel, and directed

Mercantile to cease contacting her, and to cease all further collection actions because



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Ms. Reddy was forced, by her financial circumstances, to refuse to pay her unsecured

debt. Copies of this letter and fax confirmation are attached as Exhibit C.

        9.     Nonetheless, Defendant Mercantile’s debt collector “Vance Berbarto”

continued to call Ms. Reddy directly, including, but not limited to a telephone call on

September 12, 2010, from telephone number 866-809-7506, to demand payment of the

debt.

        10.    Accordingly, on September 13, 2010, Ms. Reddy's LASPD attorney had to

send Defendant Mercantile another letter, again directing it to cease communications

and to cease collections. Copies of this letter and fax confirmation are attached as

Exhibit D.

        11.    Defendant Mercantile’s collection actions complained of herein occurred

within one year of the date of this Complaint.

        12.    Defendant Mercantile’s collection communications are to be interpreted

under the “unsophisticated consumer” standard. See, Gammon v. GC Services, Ltd.

Partnership, 27 F.3d 1254, 1257 (7th Cir. 1994).

                                       COUNT I
                       Violation Of § 1692c(c) Of The FDCPA --
              Failure To Cease Communications And Cease Collections

        13.    Plaintiff adopts and realleges ¶¶ 1-12.

        14.    Section 1692c(c) of the FDCPA prohibits a debt collector from

communicating with a consumer after a direction to cease communications, and from

continuing to demand payment of a debt that the consumer has indicated that they

refuse to pay. See, 15 U.S.C. § 1692c(c).

        15.    Here, the letter from Ms. Reddy's agent, LASPD, told Defendant



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Mercantile to cease communications and cease collections (Exhibit C). By continuing to

communicate regarding this debt and demanding payment, Defendant Mercantile

violated § 1692c(c) of the FDCPA.

      16.    Defendant Mercantile’s violation of § 1692c(c) of the FDCPA renders it

liable for statutory damages, costs, and reasonable attorneys’ fees. See, 15 U.S.C. §

1692k.

                                   COUNT II
                  Violation Of § 1692c(a)(2) Of The FDCPA --
            Communicating With A Consumer Represented By Counsel

      17.    Plaintiff adopts and realleges ¶¶ 1-12.

      18.    Section 1692c(a)(2) of the FDCPA prohibits a debt collector from

communicating with a consumer if the debt collector knows the consumer is

represented by an attorney with respect to such debt and has knowledge of, or can

readily ascertain, such attorney’s name and address. See, 15 U.S.C. § 1692c(a)(2).

      19.    Defendant Mercantile knew that Ms. Reddy was represented by counsel in

connection with her debts because her attorneys at LASPD had informed Defendant, in

writing (Exhibit C), that she was represented by counsel, and had directed Defendant

Mercantile to cease directly communicating with Ms. Reddy. By directly calling Ms.

Reddy, despite being advised that she was represented by counsel, Defendant

Mercantile violated § 1692c(a)(2) of the FDCPA.

      20.    Defendant Mercantile’s violation of § 1692c(a)(2) of the FDCPA renders it

liable for statutory damages, costs, and reasonable attorneys’ fees. See, 15 U.S.C. §

1692k.




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                                  PRAYER FOR RELIEF

       Plaintiff, Janet Reddy, prays that this Court:

       1.     Find that Defendant Mercantile’s debt collection actions violated the

FDCPA;

       2.     Enter judgment in favor of Plaintiff Reddy, and against Defendant

Mercantile, for statutory damages, costs, and reasonable attorneys’ fees as provided by

§ 1692k(a) of the FDCPA; and,

       3.     Grant such further relief as deemed just.

                                      JURY DEMAND

       Plaintiff, Janet Reddy, demands trial by jury.

                                                     Janet Reddy,

                                                     By: /s/ David J. Philipps_______
                                                     One of Plaintiff's Attorneys

Dated: September 21, 2010

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